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                                                                                June 21, 2022


                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA



 In the Matter of the Creation of the                 )
 Calendar                                             )   ORDER OF THE CHIEF JUDGE
                                                      )
 of                                                   )               22-112
                                                      )
 Judge SUNSHINE SUZANNE SYKES                         )
                                                      )

       Pursuant to the recommended procedure adopted by the Court for the creation of the
 calendar of Judge Sunshine Suzanne Sykes,

       IT IS HEREBY ORDERED that the following cases are hereby transferred from the
 calendar of Judge John A. Kronstadt to the calendar of Judge Sunshine Suzanne Sykes:

      2:21-cv-04277-JAK-AGRx            Bien Nacido Vineyards, LP, et al. v. Vintage
                                        Wine Estates, Inc.
      2:21-cv-04812-JAK-MAA             Eddie Lee Evans v. Kelly Santoro
      2:21-cv-05269-JAK-RAOx            Todd Williamson v. Zuma Beach Properties,
                                        LLC, et al.
      2:21-cv-08206-JAK-DFMx            Marc Elliot v. Lions Gate Entertainment
                                        Corporation, et al.
      2:21-cv-09634-JAK-GJSx            Hee Soon Park v. Simi Entertainment Plaza, et
                                        al.
      2:21-cv-09831-JAK-MAA             Hugh Robinson v. Acting Warden
      2:21-cv-09855-JAK-MARx            Maverick Bankcard, Inc. v. Assets Before
                                        Splurging LLC, et al.
      2:21-cv-09982-JAK-AFMx            Josean Posey v. City of Los Angeles, et al.
      2:22-cv-00018-JAK-PVCx            Kyle James v. Constar Financial Services, LLC
      2:22-cv-00922-JAK-PVCx            Jose Aguilar v. American National Insurance
                                        Company, et al.
      2:22-cv-00953-JAK-RAOx            Core Supply Company v. Foam Fabricators,
                                        Inc., et al.
      2:22-cv-00967-JAK-JPRx            Bernardo Sanchez Jimenez v. Department of
                                        Homeland Security, et al.
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 In the Matter of the
 Creation of Calendar for
 District Judge Sunshine Suzanne Sykes                                                 2


      5:22-cv-00093-JAK-KKx              Thomas Wade v. Exel, Inc., et al.
      8:18-cv-01208-JAK-KESx             Kolette A. Page, et al. v. Minnesota Life
                                         Insurance Company, et al.

       On all documents subsequently filed in the case, please substitute the Judge initials
 SSS after the case number in place of the initials of the prior Judge.



 DATED: June 21, 2022
                                                     Chief Judge Philip S. Gutierrez
